Case 1:19-cr-00576-BMC Document 34-3 Filed 03/30/20 Page 1 of 20 PageID #: 796



 1                           UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF NEW YORK
 2

 3    -------------------------------X
                                     :
 4    UNITED STATES OF AMERICA,      :
                                     :        19-CR-00576 (BMC-1)
 5                 v.                :
                                     :        February 27, 2020
 6    GENARO GARCIA LUNA,            :        Brooklyn, New York
                                     :
 7                     Defendant.    :
                                     :
 8    -------------------------------X

 9
             TRANSCRIPT OF CRIMINAL CAUSE FOR DETENTION HEARING
10                   BEFORE THE HONORABLE ROBERT M. LEVY
                        UNITED STATES MAGISTRATE JUDGE
11

12    APPEARANCES:

13
      For the Government:            ERIN REID, ESQ.
14                                   United States Attorney’s Office
                                     Eastern District of New York
15                                   271 Cadman Plaza East
                                     Brooklyn, New York 11201
16

17    For the Defendant:             CESAR DeCASTRO, ESQ.
                                     VALERIE GOTLIB, ESQ.
18                                   7 World Trade Center, 34th Floor
                                     New York, New York 10007
19

20    Spanish Interpreter:           MICHAEL MICHELENA

21

22    Court Transcriber:             MARY GRECO
                                     TypeWrite Word Processing Service
23                                   211 N. Milton Road
                                     Saratoga Springs, New York 12866
24

25


      Proceedings recorded by electronic sound recording,
      transcript produced by transcription service
Case 1:19-cr-00576-BMC Document 34-3 Filed 03/30/20 Page 2 of 20 PageID #: 797



                                                                                 2

  1   (Proceedings began at 11:28 a.m.)

  2               THE CLERK:    Criminal Cause for a Bail Application,

  3   19-CR-576, The United States v. Genaro Garcia Luna.            Counsel,

  4   your name for the record.

  5               MS. REID:    Good morning, Your Honor.       Erin Reid for

  6   the Government.

  7               THE COURT:    Good morning.

  8               MR. DeCASTRO:     Good morning, Your Honor.       Cesar

  9   DeCastro and Valerie Gotlib for Mr. Garcia Luna.

 10               THE COURT:    Good morning.

 11               THE INTERPRETER:      Also present Spanish interpreter

 12   Mario Michelena, previously sworn.         Good morning, Your Honor.

 13               THE COURT:    All right.    This is on for a bail

 14   application, is that correct?

 15               MR. DeCASTRO:     That’s correct, Judge.

 16               THE COURT:    Perhaps we should start with the

 17   defendant’s proposed package.

 18               MR. DeCASTRO:     Sure.   So Judge, I assume the Court

 19   has my written bail application.

 20               THE COURT:    I do.

 21               MR. DeCASTRO:     The proposed package is a $1 million

 22   bond which would be cosigned by three financially responsible

 23   individuals and one moral suasion person, and to be further

 24   secured by a property in Ona, Florida worth approximately $1.2

 25   million.
Case 1:19-cr-00576-BMC Document 34-3 Filed 03/30/20 Page 3 of 20 PageID #: 798



                                                                                 3

  1               I guess I should start with what the Government filed

  2   early this morning which was -- I think there’s a reference in

  3   their letter to the fact that the suretors, two of the suretors

  4   are no longer interested.

  5               THE COURT:    Right.

  6               MR. DeCASTRO:     So first, my position is I don’t think

  7   I have to have all the suretors here or a package ready.             I

  8   think we can still talk about it in the abstract.           That being

  9   said, after I received that notice that they’re referring to by

 10   counsel last night, which was by the way contrary to everything

 11   I’ve been hearing and I reached out to that counsel [inaudible]

 12   but my client’s family has received calls from the suretors and

 13   they indicated that they are still willing to sign.            In fact,

 14   they were asking whether they should fly here for this morning.

 15   So I don’t understand what’s going on there.          I think that’s

 16   something that certainly we could work out.          But those

 17   suretors, my understanding is, remain willing and able to

 18   cosign a bond.

 19               The Government also makes a point that without those

 20   suretors, the other proposed suretors don’t make a lot of money

 21   essentially.    Well, with those suretors we’re talking about

 22   approximately $650,000 annual income.         Certainly if there was

 23   reason to move on the bond, judgments could be entered against

 24   people.    There’s no requirement that the Government would

 25   instantaneously have $1 million.        But that being said, we
Case 1:19-cr-00576-BMC Document 34-3 Filed 03/30/20 Page 4 of 20 PageID #: 799



                                                                                 4

  1   propose properties, a property that is equal to $1.2 million.

  2               The Government has indicated that now in its early

  3   morning filing that those, that property and any other

  4   properties owed to the United States would be likely subject to

  5   forfeiture.    I’d like to note first that in January in speaking

  6   to counsel that was potentially coming into this case the

  7   Government indicated that -- excuse me one second.            So around

  8   January 7th, four days after an arraignment in this court, a

  9   month after he had been arrested and detained in Texas, the

 10   Government indicated that they had taken no affirmative steps

 11   to restrain or forfeit any of Mr. Luna’s United States

 12   properties.    And while they were not waiving a right to seek

 13   it, they hadn’t engaged in any actions.          That signals to me

 14   that they’re not able to trace any of the alleged crimes, which

 15   by the way are alleged to be 15 years ago, tracing any of those

 16   monies to these particular properties.         I don’t think there’s

 17   any reason to believe that there’s any issue with the property.

 18               That being said, he can’t do anything with the

 19   properties right now in order to even obtain counsel.

 20   Therefore, United States taxpayers are going to be funding this

 21   defense.    The Court granted an application to, our application,

 22   to the CJA in this matter based on an inability for Mr. Garcia

 23   Luna to have access to any liquid assets.          And so the

 24   Government’s belief that him proposing to put up properties

 25   that are his retirement, properties that he has earned,
Case 1:19-cr-00576-BMC Document 34-3 Filed 03/30/20 Page 5 of 20 PageID #: 800



                                                                                 5

  1   properties he earned through his labor -- he is cash poor and

  2   [inaudible] property but that doesn’t mean he would easily put

  3   up something he paid $1.2 million for and just flee.

  4               He is not a flight risk in this case.         This is a

  5   presumption case.     I submit that it has been easily rebutted.

  6   The opposition, the Government’s reply I suppose, is full of

  7   sound bites and generalities but has little to no specifics

  8   about how Mr. Garcia Luna will flee or what incentive he has to

  9   flee.   Nothing in the Government’s filings have drawn our

 10   application into question.       When we were in this court on

 11   January 21st before Judge Cogan, I was explaining to the Court

 12   the harsh conditions under which Mr. Garcia Luna had been

 13   detained.

 14        (Microphone stopped working correctly at 11:34:55 a.m.)

 15               MR. DeCASTRO:     [Inaudible].    I bring it up for a

 16   different reason.     I bring it up because Judge Cogan looked at

 17   the Government and said that we should not be doing surety by

 18   association.    And that’s exactly what’s going on here

 19   throughout [inaudible].       [Inaudible] prominent government

 20   Mexican corrupt officials.       In their filing they are

 21   essentially saying the current Mexican government is corrupt

 22   [inaudible].    [Inaudible].     [Inaudible] proceeding by general

 23   proffer which [inaudible] Mexican government and about corrupt

 24   [inaudible].    [Inaudible].

 25           (Microphone begins working again at 11:36:49 a.m.)
Case 1:19-cr-00576-BMC Document 34-3 Filed 03/30/20 Page 6 of 20 PageID #: 801



                                                                                  6

  1               If they want to identify those ties, we can deal with

  2   those but they can’t sufficiently come -- they can’t come in

  3   and say he’s a flight risk because he’s Mexican and he has

  4   access to corrupt Mexicans.       First, yes, he is Mexican.        He is

  5   a lawful permanent resident of the United States.           The

  6   Government has his lawful, his green card.          He applied for

  7   citizenship here in the United States indicating that he wants

  8   to remain in the United States.        His wife who is here today,

  9   his daughter who is here today, his son who’s not here today,

 10   are all United States citizens.        They came to the United States

 11   in 2012 and they made their life here.

 12               What happened when allegations, the specific

 13   allegations that this cooperating witness made regarding Mr.

 14   Garcia Luna became public in 2018, what did Mr. Garcia Luna do?

 15   Did he reach out to the alleged corrupt Mexican government

 16   officials and say move everything, get me back there so I can

 17   be on the lam for however long it takes?          No.   He remained here

 18   and continued to work.      That I cannot emphasize more.         That

 19   tells you what will happen if this Court sets bail and accepts

 20   the robust package that we have proposed.

 21               A couple of things before I summarize my position,

 22   Judge, is is some of the issues in the Government’s filing that

 23   I’d like to talk about.       One, address the suretors issue with

 24   respect to the availability of the suretors.            If it’s true that

 25   the two suretors are no longer willing -- and I will speak to
Case 1:19-cr-00576-BMC Document 34-3 Filed 03/30/20 Page 7 of 20 PageID #: 802



                                                                                  7

  1   their counsel and the Government has access to them, the

  2   Government has had communications with their counsel I think

  3   for more than a month now because they subpoenaed those

  4   individuals, so I’ve addressed that issue.          But I think we have

  5   other suretors if possible.       We can -- I already am aware of

  6   one other and potentially a second as well.

  7                The claim that the Government makes in its filing

  8   from today was that the house they lived in, if the Court

  9   recalls, the house that they -- I’ll call it the Golden Beach

 10   house, that he owns this property through some sort of shell

 11   company or something like that.        He didn’t own that property.

 12   He didn’t own that property.       That is owned by a company

 13   certainly, not owned by him.       He has no interest.      And in fact,

 14   he paid rent for that property.        He paid $5,800 in rent.       In

 15   fact, his wife is the tenant on the actual rental agreement.

 16   So he does not own that property.

 17                I’ve addressed the issue with respect to their

 18   references all over powerful resources by a powerful correct

 19   Mexican officials, yet they’ve identified nothing.            Mr. Garcia

 20   Luna has sufficient ties to the United States.           He was living

 21   here.    He is a green card holder.      His wife and children are

 22   citizens.    He has properties here in the United States.           He is

 23   cash poor.    That’s why the CJ application was granted by Judge

 24   Cogan.   He has properties that he cannot use.          The Government

 25   has his passport.     The Government has his green card.         He is
Case 1:19-cr-00576-BMC Document 34-3 Filed 03/30/20 Page 8 of 20 PageID #: 803



                                                                                 8

  1   blocked from the Mexican financial system.          The president of

  2   the country has said he is under investigation by the Attorney

  3   General’s office.     I have been informed by counsel in Mexico

  4   that if he were to go to Mexico he would be arrested and

  5   detained.    He has been aware --

  6               THE COURT:    I’m sorry, who informed you of that?

  7               MR. DeCASTRO:     Counsel in Mexico.     His counsel in

  8   Mexico.

  9               THE COURT:    His counsel?

 10               MR. DeCASTRO:     Yes, his counsel.     I suppose I can

 11   tell you a little bit about that, Judge, that they blocked him

 12   from the Mexican financial system and there is a lawyer in

 13   Mexico that is trying to challenge that.          My understanding is

 14   it’s a very lengthy and difficult process but --

 15               THE COURT:    What does it mean to be blocked from the

 16   Mexican financial system?

 17               MR. DeCASTRO:     Right.   So what it means there as it’s

 18   been explained to me by different lawyers is that he, not his

 19   wife, his accounts are not frozen, but here we would freeze

 20   some accounts, we would freeze property.          He himself cannot

 21   utilize this.     In fact, neither can his wife or his children.

 22   So if he were to, for example, ask for his bank statements,

 23   simply I have a bank account, I want my bank statements,

 24   blocked.    I would like to open a bank account, blocked.           I

 25   would like to do anything related to the banking system, he
Case 1:19-cr-00576-BMC Document 34-3 Filed 03/30/20 Page 9 of 20 PageID #: 804



                                                                                 9

  1   would be blocked.     At least that’s how it’s been described to

  2   me.

  3               The other two points just to sum up are that he’s

  4   been aware of these allegations for more than a year knowing

  5   the United States Government is investigating.           Yet he remains

  6   here.   And I can’t emphasize that more.

  7               The Bail Reform Act requires the least restrictive

  8   conditions or a combination of conditions reasonably to assure

  9   his appearance.     The Government is only moving on flight.

 10   Pretrial detention is an exceptional, exceptional step.             But

 11   what the Government’s proposing is the most restrictive

 12   conditions.    He is entitled to bail and he should be

 13   permitted -- he should be released.

 14               THE COURT:    Thank you.    Yes?

 15               MS. REID:    Thank you, Your Honor.      As outlined in our

 16   letter filed today and also our December 10, 2020 detention

 17   letter, the Government’s position obviously is that there’s no

 18   combination of conditions that can assure the defendant’s

 19   appearance at trial.      But in addition, Your Honor, the proposed

 20   bail package is just woefully inadequate to make that assurance

 21   and to rebut the presumption that he should remain detained

 22   pending trial.

 23               So I want to start briefly with the package.          And

 24   let’s just be clear about the package that’s being proposed.

 25   Originally, it was a $1 million bond secured by three financial
Case 1:19-cr-00576-BMC Document 34-3 Filed 03/30/20 Page 10 of 20 PageID #: 805



                                                                                  10

   1   suretors and one moral suasion suretor.         Two of the financial

   2   suretors have informed the Government and defense counsel

   3   through their lawyer that they would not sign a bond for the

   4   defendant or where informed the Government that they agree to

   5   serve as sureties without fully understanding that they would

   6   be personally liable for the amount of the bond.

   7                Furthermore, the lawyer informed the Government and

   8   defense counsel that they do not own any real property in the

   9   USA and are otherwise financially unable to guarantee the

  10   proposed $1 million bond.      As such, they can’t serve as

  11   sureties.    So there’s really one financial surety that’s being

  12   proposed, Your Honor, and that, as outlined in the Government’s

  13   letter, that person is just not sufficient for a few reasons.

  14   The first primarily is that the Government does not see how he

  15   can possibly sign a $1 million bond when according to his 2018

  16   taxes his income was approximately $45,000.

  17                In addition, Your Honor, the suretor, the proposed

  18   suretor, is inextricably intertwined with the defendant’s

  19   financial dealings.     All of his income appears to come from

  20   companies owned by the defendant.        He’s an employee of the

  21   defendant.    And the money then is all traced to the defendant.

  22   In addition, Your Honor, and very importantly, the Government

  23   has not been able to interview the suretor.          Obviously, he’s

  24   also not here for the court’s interview.         But the Government

  25   has actually been trying to reach the suretor since the middle
Case 1:19-cr-00576-BMC Document 34-3 Filed 03/30/20 Page 11 of 20 PageID #: 806



                                                                                  11

   1   of January and related to his role as an employee of the

   2   defendant, to serve him with a subpoena.         Federal agents have

   3   reached out to him many, many times and have never received a

   4   call back.    They actually went to his house multiple times and

   5   could not reach him.      And I also tried to reach him today and

   6   was unable to at a number provided by defense counsel.

   7                So Your Honor, I don’t think any of these financial

   8   suretors are sufficient.         To the extent that there are others,

   9   we would of course consider them.        But today there’s no

  10   financial suretor that can sign a $1 million bond for the

  11   defendant.    In --

  12                THE COURT:    Let me stop you for a second.      So right

  13   now there seems to be a factual dispute between what the

  14   Government’s saying and what the defense is saying.           And you

  15   stated that the two suretors who are withdrawing had informed

  16   both you and the defense that they’re withdrawing.           Do you know

  17   anything that can help shed some light on this factual

  18   dispute?

  19                MS. REID:    Yes.    I have an email, Your Honor, from a

  20   lawyer which was sent to Mr. DeCastro as well as the

  21   Government, and I can pass it up.        That’s what I was reading

  22   from earlier.

  23                THE COURT:    Okay.    Thanks.   Has defense counsel seen

  24   this?

  25                MR. DeCASTRO:    Yes, Judge.     I was sent to me.    I
Case 1:19-cr-00576-BMC Document 34-3 Filed 03/30/20 Page 12 of 20 PageID #: 807



                                                                                  12

   1   also, I think as I alluded to earlier, I sent counsel a message

   2   last night because that was contrary to one, my conversations

   3   with him earlier in the day, which of course positions can

   4   change.   I understand.      And those suretors have reached out to

   5   family, not at my request because we didn’t -- and they are the

   6   ones saying as late as today if you want us to come up to New

   7   York, we will.    So I understand.      I have not been able to talk

   8   to that counsel since the email.

   9                THE COURT:    All right.   So for the record, do you

  10   want this marked as an exhibit for the record?

  11                MS. REID:    Sure, that’s fine, Your Honor.

  12                THE COURT:    So I’m going to mark this as Government’s

  13   Exhibit 1.    For the record, this is an email dated Wednesday,

  14   February 26th, that’s yesterday, at 7:50 p.m.           And it was sent

  15   to the US Attorney’s office and to defense counsel’s office.

  16   And for the rest, it speaks for itself.         Okay.    But

  17   categorically says as such they cannot serve as sureties.

  18   Should you have any further questions or concerns, please

  19   contact the undersigned.

  20                MR. DeCASTRO:    And if I can -- so that’s the one

  21   issue I wanted to [inaudible] and email to him was it seems to

  22   me there’s some sort of a misconception and maybe someone in

  23   the room can correct me if I’m wrong, but that having practiced

  24   in this courthouse for quite a of time, there’s no requirement

  25   that the suretor have assets or make the amount of the bond.
Case 1:19-cr-00576-BMC Document 34-3 Filed 03/30/20 Page 13 of 20 PageID #: 808



                                                                                  13

   1   That would require any $1 million bond for a combination of

   2   suretors to be $1 million.       Of course, the Court could

   3   [inaudible].    But in my experience, the Government generally

   4   has no issue with people who sometimes make as low as 25,000

   5   securing bonds that are upwards of 100,000.          And I’m sure the

   6   Court has seen that in its experience as well.          So I don’t

   7   really understand.

   8               I also don’t understand the Government’s argument is

   9   that he should be detained, yet these suretors are inadequate.

  10   Okay.   Take the position that you should have different

  11   suretors.   That’s fine.     But are they conceding that, I mean I

  12   assume they’re not, that a package is appropriate and a package

  13   that they deem appropriate would be appropriate with suretors

  14   that meet their requirements would be sufficient.           If that’s

  15   the case, then they need to tell us that and we’ll go get those

  16   suretors.

  17               THE COURT:   All right.     So I think that -- well, I’m

  18   not going to speak for the Government, but as I understood what

  19   the Government was saying, that a bond is not appropriate in

  20   this situation but alternatively if it were, this bond is not

  21   sufficient.    And with respect to these two suretors, as I heard

  22   from counsel, the email says that the two individuals agreed to

  23   serve as sureties for the client without fully understanding

  24   that they would be personally liable for the amount of the bond

  25   should Mr. Garcia Luna fail to appear in court in the future.
Case 1:19-cr-00576-BMC Document 34-3 Filed 03/30/20 Page 14 of 20 PageID #: 809



                                                                                  14

   1   That’s a fairly categorical statement.         Then the next statement

   2   is that -- has to do with whether they own real property in the

   3   US or they can guarantee the bond amount.         So it sounds to me

   4   that’s not the primary reason why they don’t want to be on the

   5   bond.   Sounds like the primary reason they don’t want to be on

   6   the bond, at least from this, is that they don’t want to be

   7   personally liable.

   8              MR. DeCASTRO:     Right.    And I think what’s strange

   9   about it is that first, I guess the Court should also know that

  10   they provided all of their personal information to me.            They

  11   provided their tax returns.       That’s how I know their income and

  12   statements which I provided to the Government.          And they

  13   provided that, both of these suretors.         I’ve seen another --

  14   that’s another pending question for this counsel because it’s a

  15   little confusing.     And in my conversations with him and now

  16   what’s being reported to me and the suretors reaching out

  17   saying this is not true, we don’t know why our lawyer is saying

  18   this, you know, I can’t talk for them so I don’t --

  19              THE COURT:    Right.

  20              MR. DeCASTRO:     I’m not trying to.      I’m just trying to

  21   talk to counsel to see does he have some misconception or if

  22   they don’t want to be suretors, that’s fine.          But --

  23              THE COURT:    All right.     So you’re in a difficult

  24   position at this time at ten to 12 on the 27th, not even just

  25   barely 15 hours after you got the email, to respond to this.               I
Case 1:19-cr-00576-BMC Document 34-3 Filed 03/30/20 Page 15 of 20 PageID #: 810



                                                                                  15

   1   think -- well, I can ask the Government this question but I

   2   think I know the answer.      Are there any conditions or

   3   combinations of conditions that you think would justify

   4   reasonable belief that the plaintiff -- that there would not be

   5   a reasonable risk of flight?

   6              MS. REID:    No, Your Honor.     However, I think the

   7   Court accurately summarized our position which is of course in

   8   the alternative we would want to review suretors and a package

   9   submitted and have the opportunity to respond to that.            But and

  10   I can detail the other reasons for the Government’s position

  11   and respond to some of defense counsel’s arguments if you’d

  12   like.

  13              THE COURT:    No, I think you actually put everything

  14   in the record before and the first issue for the Court is what

  15   is the package that’s being offered and is it sufficient?

  16   Pretrial Services had said, had recommended detention because

  17   there’s no combination of conditions.         I have not reached that

  18   conclusion and I don’t have a conclusion on that because I

  19   haven’t seen what conditions or combinations of conditions are

  20   being presented.     So before I make any kind of a ruling, I need

  21   to see what kind of a package is actually out there.

  22              MR. DeCASTRO:     I mean Judge, we have two other people

  23   that [inaudible].     I don’t think -- I mean I think this Court

  24   could rule on a package with an appropriate amount of cosigners

  25   and a bond amount.     If the Court believes the bond amount is
Case 1:19-cr-00576-BMC Document 34-3 Filed 03/30/20 Page 16 of 20 PageID #: 811



                                                                                  16

   1   not enough, we can propose a higher bond amount and fully

   2   secure it with one of the properties.

   3               THE COURT:    All right.    But I need to see who the

   4   cosigners would be, the suretors, and I need to have them

   5   interviewed by Pretrial Services and by the Government and --

   6               MR. DeCASTRO:    Which, by the way, I offered Pretrial

   7   to do on Tuesday.     Or on Monday actually.      And they have

   8   declined to do that.      I offered to send all the information

   9   from all the suretors in an email to them on Monday.           I said do

  10   you want all the potential suretors, do you want them here so I

  11   can give you everything?      They said no.     So again in another

  12   position where they’re saying only if you tell them.

  13               THE COURT:    Well, all right, but I’m going to direct

  14   that at this point.      I’m going to request that Pretrial

  15   Services interview the suretors, that the Government have an

  16   opportunity as well, and that all the financial information

  17   that is relevant for these interviews be presented to both the

  18   Government and to Pretrial Services so that they can properly

  19   evaluate.   I don’t know how much time that’s going to take.

  20               MR. DeCASTRO:    With respect to property location, the

  21   Government already has the property information but I can send

  22   that today.    I can send the suretor -- the suretor information

  23   I’ve already sent to the Government.        I will send that to

  24   Pretrial.   I can send the two that are in question today as

  25   well and then try to reach out to their counsel and find out
Case 1:19-cr-00576-BMC Document 34-3 Filed 03/30/20 Page 17 of 20 PageID #: 812



                                                                                  17

   1   what’s going on.

   2               THE COURT:   Right.    And my suggestion, given the

   3   adamance of the Government’s position and the position that

   4   Pretrial Services has taken is that you try to present the

   5   strongest package that you can so the Court can evaluate that

   6   at one time.    So if that means more suretors or more property,

   7   that’s what you need to do.

   8               MR. DeCASTRO:    Okay.   The other thing I should note

   9   from the Pretrial report was that they’re doing an analysis on

  10   danger but the Government hasn’t even moved on danger in this

  11   case.

  12               THE COURT:   Well, I saw that footnote.        Is that

  13   accurate?

  14               MS. REID:    Your Honor, at this time our position is

  15   about the risk of flight which I think is sufficient to support

  16   our position.

  17               THE COURT:   Okay.    All right.    So in terms of timing,

  18   do you want to schedule another appearance or just come back to

  19   court when you’re ready?

  20               MR. DeCASTRO:    I think maybe what makes the most

  21   sense is I’ll provide the information to all the parties and

  22   then I can reach out to the clerk’s office about it and we can

  23   come back tomorrow maybe if we have a -- I don’t know if

  24   there’ll be an availability or --

  25               THE COURT:   And again, it depends on what the
Case 1:19-cr-00576-BMC Document 34-3 Filed 03/30/20 Page 18 of 20 PageID #: 813



                                                                                    18

   1   Government needs to do in order to satisfy itself.           Do you know

   2   who the suretors are yet?

   3              MS. REID:    No, Your Honor.     I mean I have been

   4   provided info for the two that are on the email about.            The

   5   third one we’ve never been able to reach like I said.            I don’t

   6   know who the other two new potential suretors are but I’m sure

   7   Mr. DeCastro will provide their information.

   8              THE COURT:    Okay.    And there may be some

   9   investigation the Government wants to do.         You know, they may

  10   have to make available their financial -- well, you’ve already

  11   offered that.

  12              MR. DeCASTRO:     I provided it to -- just so the

  13   record’s clear, I provided them the information on four people.

  14   That includes bank statements, tax returns, identification like

  15   a passport photo.     And I can do that for anybody additional.              I

  16   will also provide them, which I think they have already, but

  17   just to be clear, the property which we would be proposing and

  18   any other properties that we would propose as well.

  19              THE COURT:    Are they in this area or --

  20              MR. DeCASTRO:     They’re in Florida.

  21              THE COURT:    In Florida.     Okay.   What does Pretrial

  22   Services need in addition to what we’ve been discussing?

  23              PRETRIAL OFFICER:      Just the surety information.          If

  24   he can provide that, we’ll contact them.

  25              THE COURT:    Okay.    Can you do it by phone or do you
Case 1:19-cr-00576-BMC Document 34-3 Filed 03/30/20 Page 19 of 20 PageID #: 814



                                                                                  19

   1   need to actually have them here?

   2              PRETRIAL OFFICER:      We can do it by phone.

   3              THE COURT:    Okay.    Anything else from the Government?

   4              MS. REID:    Not at this time.      Thank you, Your Honor.

   5              THE COURT:    From defense?

   6              MR. DeCASTRO:     Thank you, Judge.

   7              THE COURT:    Okay.    Thanks.

   8              THE DEFENDANT:     Thank you.

   9   (Proceedings concluded at 11:56 a.m.)

  10                                  * * * * * *

  11

  12

  13

  14

  15

  16

  17

  18

  19

  20

  21

  22

  23

  24

  25
Case 1:19-cr-00576-BMC Document 34-3 Filed 03/30/20 Page 20 of 20 PageID #: 815



                                                                                  20

   1        I certify that the foregoing is a court transcript from an

   2   electronic sound recording of the proceedings in the above-

   3   entitled matter.

   4

   5

   6                                             Mary Greco

   7   Dated:   March 22, 2020

   8

   9

  10

  11

  12

  13

  14

  15

  16

  17

  18

  19

  20

  21

  22

  23

  24

  25
